     Case 1:23-cr-00135-RP   Document 192   Filed 04/12/25   Page 1 of 4




               UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF TEXAS
                      AUSTIN DIVISION

UNITED STATES OF AMERICA                §
    Plaintiff-Appellee                  §
                                        §
V                                       §     No. 1:23-CR-00135-RP-1
                                        §     Appeal No. 24-50982
SAINT JOVITE YOUNGBLOOD                 §
    Defendant-Appellant                 §


        SECOND MOTION TO WITHDRAW AS COUNSEL



TO THE HONORABLE JUDGE OF THIS COURT:
     COMES NOW Alan Winograd, the attorney of record for
Defendant-Appellant Saint Jovite Youngblood in the above styled and

numbered cause and moves the Court to be allowed to withdraw as an
attorney of record for Defendant-Appellant Saint Jovite Youngblood, and
in support of this motion shows:

1.   Youngblood was convicted of four counts of Wire Fraud and one
count of Engaging in Monetary Transaction in Criminally Derived
Property following a jury trial that concluded on April 23, 2024. (Dkt.

100). On December 4, 2024, Defendant was sentenced. (Dkt. 151).
Defendant then filed a notice of appeal. (Dkt. 149). On December 11,
2024, the Court allowed Defendant’s trial counsel to withdraw and
ordered that Alan Winograd be appointed to represent Defendant during
                                    1
         Case 1:23-cr-00135-RP   Document 192   Filed 04/12/25   Page 2 of 4




his appeal. (Dkt. 153). After a video conference on December 18, 2024,
Mr. Youngblood indicated to undersigned counsel that he did not have

confidence in his ability to represent him and did not want undersigned
counsel to represent him on appeal and Alan Winograd filed a motion to
withdraw. (Dkt. 155). The motion was denied on January 2, 2025 . (Dkt.

155). The record on appeal has been completed and Defendant-
Appellant’s brief and record excerpts are due for submission to the Fifth
Circuit Court of Appeals on May 20, 2025.

2.       On April 4, 2025, Youngblood filed a pro se motion requesting a
change of attorney on appeal in which undersigned was notified on April
8, 2025. (Dkt. 182). Youngblood listed numerous reasons for the request

as well as attacking the qualifications of appointed counsel and lack of
confidence in his ability to represent him. Moreover, Youngblood has also
questioned the qualifications and legal strategy of undersigned counsel
in several combative emails sent by Youngblood to undersigned counsel
which will be provided upon request by the trial court. In these messages,
Youngblood raised several issues that he believed should be included in
his brief. However, appointed counsel does not believe these claims or
defenses are warranted under existing law and cannot be justified in good
faith.

3.       The    above-described     matters     constitute       a   substantial,
irreconcilable conflict or problem affecting undersigned counsel’s ability


                                        2
     Case 1:23-cr-00135-RP   Document 192   Filed 04/12/25   Page 3 of 4




to represent defendant-appellant – a conflict of interest, a complete
breakdown in communication and good cause for withdrawal and

appointment of substitute counsel on appeal. See United States v. Conlan,
786 F.3d 380, 391 (5th Cir. 2015); see also, Tex. Disciplinary R. Prof.
Conduct § 1.15 and 1.3.

4.   Because of the increasing animosity expressed by Youngblood
towards undersigned counsel and the strong disagreements regarding
legal strategy, requiring the undersigned to remain on the case would

adversely affect Defendant-Appellant’s ability to defend his case.

     WHEREFORE, undersigned counsel prays the Court grant this
motion and order that he be released as counsel of record for the above-

appointed Defendant.
                                  Respectfully submitted,

                                  S/Alan Winogradx
                                  Alan Winograd
                                  TBN 00788695
                                  Winograd Law Ofﬁce
                                  9600 Great Hills Trail
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                                    3
      Case 1:23-cr-00135-RP   Document 192   Filed 04/12/25   Page 4 of 4




                     CERTIFICATE OF SERVICE
     This is to certify that the foregoing Motion to Withdraw as Attorney
of Record was served to all parties via electronic service on April 12, 2025,

and to Defendant-Appellant’s last known address:


                       VIA CM/RRR # 9589 0710 5270 1699 3398 81
                       Mr. Saint Jovite Youngblood
                       Register No. 70720-510
                       FCI Victorville Medium II
                       PO BOX 3850
                       ADELANTO, CA 92301
                       .


                                         S/Alan Winograd
                                         Attorney for Defendant




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